Case 2:02-cr-20029-SH|\/| Document 199 Filed 08/30/05 Page 1 of 2 Page|D 154

IN THE UNITED sTATES DISTRICT CoURTm'E° BV -- D'°'

 

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UNITED sTATES oF AMERICA, ` ',.-.‘5*5,2:_
WJD Qr :.'~2 r.flt=*.iPH?S
vs. No. 02-20029-Ma

DOYCE ELLIOTT HUNT,

Defendant.

 

ORDER GRANTING MOTION TO CONTINUE RE-SENTENCING HEARING

 

Before the court is the August 26, 2005, motion by Doyce
Elliott Hunt, to reset the re-sentencing hearing presently set on
August 31, 2005. Counsel for the government does not oppose the
resetting. For good cause shown, the motion is granted. The

hearing on re-sentencing is reset to Monday, October 3, 2005, at
9:00 a.m.
It is so ORDERED this 3au"day of August,/%OB.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Honorable Samuel Mays
US DISTRICT COURT

